         Case 1:17-cv-02041-RJL Document 167 Filed 09/14/21 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MIKHAIL FRIDMAN,              PETR    AVEN,      and
 GERMAN KHAN,

                Plaintiffs,                                Civil Case No. 1:17-cv-2041-RJL
        v.

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                Defendants.


  DEFENDANTS’ RESPONSE TO PLAINTIFFS’ SUPPLEMENT TO THE PARTIES’
              JOINT MOTION FOR A STATUS CONFERENCE

       In advance of the Status Conference scheduled for September 23, 2021, Defendants

respectfully file this Response to Plaintiffs’ Supplement to the Parties’ Joint Motion for a Status

Conference.

       In their Joint Motion for a Status Conference (“Joint Motion”) on the parties’ cross-motions

to extend the discovery deadline, both parties stated that “all parties agreed that the existing

deadlines need to be extended in order to complete discovery,” and asked the Court to resolve the

parties’ disagreement about “the form that extension should take.” Joint Motion, ECF No. 149, at

2. Specifically, after discovery lapsed on January 12, 2021, “Defendants requested a stay of

discovery pending resolution of Defendants’ Motion for Partial Summary Judgment on the Issue

of Public Figure, followed by a 90-day extension of fact discovery after that motion is decided;

alternatively, if the Court is not inclined to grant such a stay, Defendants requested that the Court

set a date certain for the close of discovery in a reasonable period, such as 90 days.” Id. (citing

ECF No. 145, at 1 n.1). Plaintiffs, by contrast, “filed a motion seeking [a 120-day] extension of




                                                 1
         Case 1:17-cv-02041-RJL Document 167 Filed 09/14/21 Page 2 of 4




the discovery cut-off keyed to the date of the resolution of [nine] pending discovery motions.” Id

(citing ECF No. 128-1).

       Despite the fact that the parties filed a joint motion with language to which both parties

agreed, Plaintiffs unilaterally filed their Supplement to a Joint Motion for a Status Conference

(ECF No. 166) (“Supplement”), which requires clarification.1 Plaintiffs falsely indicated that

Defendants have tried to frustrate discovery and have taken a new position on discovery, when

Defendants’ position – shared by third parties subpoenaed by both parties in this case – has not

changed and is what the law requires. Indeed, the parties informed the Court of this position in the

Joint Motion, filed on May 27, 2021, wherein both parties informed the Court that it was

“Defendants’ position,” in light of the fact that discovery had closed on January 12, 2021, that

“Rule 16 does not permit any depositions to proceed in this action until the Court enters a modified

scheduling order extending the period for fact discovery.” Id. at 3. Both parties also informed the

Court in the Joint Motion that “[t]hird parties subpoenaed in this case have taken the same

position[,]” and, “[a]s a result, no depositions are currently scheduled at this time.” Id. To be clear,

third parties whom Defendants have served with subpoenas have also stopped cooperating in this

case because of the status of discovery. See, e.g., Ex. A, Email from E. Scully to J. Levy (Mar. 3,

2021) (stating that the Center for National Interest and its President and CEO, Dimitri Simes,

would not be engaging in further discussions about compliance with Defendants’ subpoenas served

on those third parties, pending the Court’s resolution of pending discovery motions).

       Plaintiffs’ Supplement, purportedly filed “to provide updated information to the Court,” is

therefore a pretext to accuse Defendants of frustrating the progress of this case, a false accusation




1Plaintiffs did not seek, let alone obtain, Defendants’ consent to file a supplement to the parties’
Joint Motion.

                                                   2
         Case 1:17-cv-02041-RJL Document 167 Filed 09/14/21 Page 3 of 4




they have repeated ad nauseam elsewhere. Plaintiffs’ so-called “updated information” is old news:

email correspondence dated March 17 – April 30, 2021, created before the parties filed their Joint

Motion on May 27, 2021. See Ex. A to Plaintiffs’ Supp. Memo. (ECF No. 166-1). That is not

updated information; that correspondence was the basis for filing the Joint Motion. Defendants’

position has not changed since the parties filed their Joint Motion; neither has Plaintiffs’ position.

Plaintiffs’ Supplement is a needless filing aimed to disparage Defendants for following the law.

       Notably, Plaintiffs have not proposed an alternative to the counter-proposals pending

before the Court regarding an extension of the discovery period that might allow the parties to

reach a joint scheduling agreement while limiting the need for the Court’s intervention. Absent

such an agreement (ratified by the Court), the Federal Rules do not permit the taking of discovery

past the deadline without leave of Court. See Fed. R. Civ. P. 16(b)(4); Olgyay v. Soc’y for Env’t

Graphic Design, Inc., 169 F.R.D. 219, 220 (D.D.C. 1996) (“Counsels’ unilateral decision to

modify the Scheduling Order without the Court’s approval and without good cause is a clear

violation of the Federal and Local Rules.”).



Dated: September 14, 2021                             /s/ Joshua A. Levy

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                                                  3
         Case 1:17-cv-02041-RJL Document 167 Filed 09/14/21 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 14, 2021, the foregoing was filed using CM/ECF

and served by email on all counsel of record.




                                                    /s/ Joshua A. Levy
                                                    Joshua A. Levy




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